 GSI Enterprises, Inc., Plaintiff-Appellant,  v.  Hudson Real Estate Co., Defendant-Appellee. No. 20CA0987Court of Appeals of Colorado, Seventh DivisionOctober 7, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                Adams
      County District Court No. 19CV41 Honorable Robert W.
      Kiesnowski, Jr., Judge.
    
    
               
      OPINION
    
    
                GROVE,
      JUDGE.
    
    
               ORDER
      AFFIRMED
    
    
               
      Navarro and Pawar, JJ., concur.
    